               Case 3:23-cv-02880-JSC Document 272-1 Filed 06/29/23 Page 1 of 2

                                   UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA

Case No: 23-cv-02880-JSC

Case Name: Federal Trade Commission v. Microsoft Corporation, et al.

                            TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                           COUNSEL FOR FTC:                       COUNSEL FOR DEFENDANTS:
 Jacqueline Scott Corley          James Weingarten/Jim Abell/Cem         Beth Wilkinson/Kieran
                                  Akleman/Nicole Callan/Maria            Gostin/Grace Hill/Rakesh
                                  Cirincione/Peggy Bayer                 Kilaru/Anastasia Pastan/Steven
                                  Femenella/Jenny Fleury/Meredith        Sunshine/Julia York/Evan
                                  Levert/Merrick Pastore                 Kreiner/Caroline Van Ness

 TRIAL DATE:                      COURT REPORTER:                        CLERK:
 June 29, 2023 (Day 5)            Marla Knox                             Ada Means

 PLTF.     DEFT.     DATE/TIME
 NO.       NO.       OFFERED        ID    REC    DESCRIPTION
                     8:19 a.m.                   Court and counsel confer re: witnesses Singer, Stuart, and
                                                 Hood and the exhibits related to their testimonies. Ben
                                                 Argle appeared on behalf of Singer. (SEALED)
                     8:26 a.m.                   Court stands in recess.
                     8:30 a.m.                   Court in now in session in open court with all parties
                                                 present. Amy Hood’s direct examination by MS is
                                                 submitted (please see docket number 253). Amy Hood was
                                                 not cross examined by FTC.
                     8:30 a.m.                   The following exhibits are marked and admitted into
                                                 evidence by defendants: PX0083, PX1102, PX4028,
                                                 PX4029, PX4044, PX9009, RX1077, RX1078, RX1079,
                                                 RX1080, and RX1105. *PX4033 was withdrawn*
                     8:32 a.m.                   The video deposition of STEVEN SINGER to be reviewed
                                                 by the Court in camera.
                     8:32 a.m.                   The following exhibits are marked and admitted into
                                                 evidence: PX3218, PX3225, PX3223, PX3224 PX9072
                                                 and PX7065 for FTC. RX5060, 5060A, and RX1212 for
                                                 defendants.
                     8:32 a.m.                   TIMOTHY STUART is sworn as a witness and is under
                                                 examination by Mr. Weingarten.
 PX0070              8:33 a.m.       X     X
 PX1240              8:39 a.m.       X     X
 PX1151              8:46 a.m.       X     X
 PX4380              8:52 a.m.       X     X
 PX7040              9:00 a.m.       X     X
 PX9192              9:07 a.m.       X     X
 PX4377              9:13 a.m.       X     X

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           Case 3:23-cv-02880-JSC Document 272-1 Filed 06/29/23 Page 2 of 2

PX4376            9:17 a.m.    X   X
PX1966            9:20 a.m.    X   X
PX1116            9:34 a.m.    X   X
PX4308            9:43 a.m.    X   X
PX4334            9:45 a.m.    X   X
PX4375            9:49 a.m.    X   X
PX4341            9:54 a.m.    X   X
                  10:13 a.m.           The Court called for the morning recess.
                  10:20 a.m.           Court reconvenes with all parties present. Timothy Stuart
                                       resumes the witness stand and is under further examination
                                       by Mr. Weingarten.
PX1190            10:29 a.m.   X   X
PX4319            10:32 a.m.   X   X
PX4358            10:35 a.m.   X   X
PX4359            10:41 a.m.   X   X
PX4367            10:45 a.m.   X   X
PX4472            10:49 a.m.   X   X
                  10:52 a.m.           Timothy Stuart is under examination by Mr. Gostin.
         RX1066 10:54 a.m.     X   X
         PX9192   11:02 a.m.   X   X
         RX1137 11:07 a.m.     X   X
                  11:15 a.m.           Timothy Stuart is under examination by the Court.
                  11:17 a.m.           Timothy Stuart is excused. Court and counsel confer re:
                                       schedule.
                  11:19 a.m.           The Court called for the afternoon recess.
                  2:28 p.m.            Court reconvenes with all parties present.
                  2:28 p.m.            The following exhibits are marked and admitted into
                                       evidence by defendants: RX1186, RX1187, RX1128,
                                       RX1133, RX1120, RX1119, RX1140, RX1154, RX1156,
                                       and RX3166.
                  2:29 p.m.            Closing statements presented by both sides.
                  3:56 p.m.            The Court called for a brief recess.
                  4:09 p.m.            Court reconvenes with all parties present. Closing
                                       statements resumes.
                  5:10 p.m.            The following exhibits (clip reports) are marked and
                                       admitted into evidence: PX3378, PX3379, PX3380.
                                       PX3381, PX3382, and PX7062.
                  5:19 p.m.            Court is adjourned.




                                            2
